                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                center10985500
                                April 23, 2015
                              No. 10-15-00137-CR
                                 OVIDIU TUNAS
                                      v.
                              THE STATE OF TEXAS
                                       
                                center-4254500
                        From the 54[th] District Court
                            McLennan County, Texas
                          Trial Court No. 2012-18-C2
                                       
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JUDGMENT

	This appeal has been considered by the Court.  Because the Court finds that it does not have jurisdiction of the appeal, it is the judgment of this Court that the appeal is dismissed.  
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.
							PER CURIAM
						SHARRI ROESSLER, CLERK

						By:          3040380-17145000		
							Deputy Clerk

